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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA

  UNITED STATES OF AMERICA
                                                           No. 21-cr-399 (RDM)
              Plaintiff,
  v.

  ROMAN STERLINGOV

              Defendant.




                                   [PROPOSED] ORDER

       Upon consideration of the Defense’s Response to Government’s Order to Show Cause

(Dkt. 219) and the Defense’s Renewed Motion for Order to Show Cause Regarding the

Government’s Ongoing Violations of Local Criminal Rule 57.7(b), it is hereby

       ORDERED, that the Government’s motion for Order to Show Cause shall be denied, and

that counsel for the Government appear before this Court at ___ a.m./p.m., on ______, 2024, to

show cause why an Order should not be entered holding them in contempt for violation of Local

Criminal Rule 57.7(b) and this Court’s August 29, 2023, Order.


Dated this _____ day of January 2024.


                                            __________________________________
                                            HON. RANDOLPH D. MOSS
                                            UNITED STATES DISTRICT JUDGE
